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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     PATRICK CALHOUN, et al.,                          Case No. 20-cv-05146-YGR (SVK)
                                   8                    Plaintiffs,
                                                                                           ORDER REGARDING BRIEFING
                                   9             v.                                        SCHEDULE AND HEARING
                                                                                           FOLLOWING SPECIAL MASTER
                                  10     GOOGLE LLC,                                       REPORT AND RECOMMENDATION
                                                                                           RE MODIFIED PRESERVATION
                                  11                    Defendant.                         PLAN
                                  12          Special Master Brush has issued a Report and Recommendation regarding Modified
Northern District of California
 United States District Court




                                  13   Preservation Plan (“Modified Plan”). Dkt. 665. In light of the extensive briefing and argument
                                  14   held on these matters before both this Court and the Special Master, the Court sets an expedited
                                  15   schedule for limited objections and hearing pursuant to Rule 53(f) as follows:
                                  16          Parties’ objections due                June 8, 2022
                                  17          Parties’ responses to objections due June 15, 2022
                                  18          Hearing on objections                  June 30, 2022 @ 9:30 a.m. via video
                                  19          Objections may be directed to ONLY the 14 data sources for which the Modified Plan
                                  20   reflects substantive changes to the Special Master’s Report and Recommendation filed on April 4,
                                  21   2022. Dkt. 604 (“April 4 Report”). The Parties’ objections to the April 4 Report may be
                                  22   incorporated by reference. The objections are to be set forth in a numbered list, with a brief
                                  23   summary of grounds following each objection.
                                  24          SO ORDERED.
                                  25   Dated: May 23, 2022
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                                                                                                    SUSAN VAN KEULEN
                                  28                                                                United States Magistrate Judge
